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                                  No. 25-1397(L), 25-1398

                          In the United States Court of Appeals
                                  for the Fourth Circuit

                                  JEFFERSON GRIFFIN,
                                                   Plaintiff-Appellee,
                                              v.
                                  ALLISON RIGGS, et al.,
                                                   Intervenors-Appellants,
                                             and
                NORTH CAROLINA STATE BOARD OF ELECTIONS,
                                                   Defendant-Appellee.


                    On Appeal from the United States District Court
                       for the Eastern District of North Carolina


          RESPONSE OF DEFENDANT-APPELLEE TO MOTION FOR
               STAY AND INJUNCTION PENDING APPEAL

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                                  INTRODUCTION*

              This case returns to the Court after state-court proceedings that

        ordered the Board to commence a process that could retroactively

        disenfranchise up to roughly 1,600 North Carolina military and

        overseas voters—and perhaps many more. The district court below

        prohibited the Board from certifying the election results but otherwise

        declined to stop the Board from implementing a remedial process to

        identify the challenged voters, provide some of them with notice and an

        opportunity to cure, and identify ballots with votes that may be

        cancelled.

              The Board is working diligently to implement this process and will

        continue to do so unless and until a court directs otherwise. But bound

        as it is by federal law, the Board agrees that this Court should enter an

        injunction pending appeal that prohibits the Board’s implementation of

        the remedial process that the state courts have ordered.




        *     This Court has ordered the Board to file responses to motions for
        stay and injunctive relief pending appeal in three cases: Nos. 25-
        1397(L), 25-1399, and 25-1401. As discussed below, the pending
        motions all raise substantially similar questions. See infra pp 13-16.
        The Board therefore submits the same response in all three cases.
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              The remedial process ordered by the state courts violates settled

        principles of federal constitutional law in multiple ways. It violates due

        process by canceling ballots from voters who followed all of the rules in

        place at the time of the election. Hendon v. N.C. State Bd. of Elections,

        710 F.2d 177, 182 (4th Cir. 1983). It further violates due process by

        forbidding the Board from requiring an election protester to provide

        notice to a voter whose ballot is being challenged. Democracy N.C. v.

        N.C. State Bd. of Elections, 476 F. Supp. 3d 158, 227 (M.D.N.C. 2020).

        It also violates equal protection by arbitrarily treating identically

        situated voters differently merely because they live in different

        counties. Bush v. Gore, 531 U.S. 98, 104-05 (2000) (per curiam). And it

        finally violates multiple civil-rights laws that limit the circumstances

        under which state officials may remove voters from the rolls or refuse to

        count their votes.

              Implementing this remedial process now will also cause

        irreparable harm and run counter to the public interest. The Board and

        the county boards will be forced to invest time, money, and resources to

        identify and notify voters—efforts that will prove unnecessary if a court

        later concludes that the process violates federal law. Moreover,


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        ordering the Board to notify voters that their votes could be discarded—

        before a decision on whether such notice is legally permissible—is a

        recipe for voter confusion and public distrust of the election process.

              The Board therefore agrees that an injunction pending appeal is

        appropriate to halt a process ordered by the state courts that requires

        state government officials to violate their citizens’ federal constitutional

        and statutory rights.

                                    BACKGROUND

              A.   Judge Griffin challenges the election results, and the
                   Board removes to federal court.

              Judge Jefferson Griffin and Associate Justice Allison Riggs were

        candidates in the statewide 2024 general election for Associate Justice

        on the North Carolina Supreme Court. Final canvassed results show

        that Justice Riggs prevailed by 734 votes. N.C. State Bd. of Elections,

        NC SBE Election Contest Details, bit.ly/3PA7R6P (last visited Apr. 21,

        2025).




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              On November 19, 2024, Judge Griffin filed election protests

        throughout the State challenging the election results. Two categories of

        protests are at issue here.1

              First, Judge Griffin challenged 1,409 votes cast in one North

        Carolina county by military and overseas voters who did not submit a

        copy of their photo ID with their ballot. D.E. 1-4 at 12. At the time of

        the election, the North Carolina Administrative Code provided that

        military and overseas voters in the State were “not required to submit a

        photocopy of acceptable photo identification.” 08 N.C. Admin. Code

        § 17.0109(d) (emphasis added). This photo ID rule had been applied in

        five prior elections. See D.E. 1-4 at 48. In the 2024 election, the

        majority of military and overseas voters used an online portal to submit

        their absentee ballots, but that portal was not configured to accept

        photo identification documentation. D.E. 61 at 3 n.3; see N.C. Gen.

        Stat. § 163-258.4(d) (authorizing the Board to “develop standardized

        absentee‑voting materials, including privacy and transmission




        1      As discussed below, the parties dispute the scope of these
        protests. See infra pp 11-12. This dispute does not, however, change
        the Board’s federal-law arguments. See infra pp 18-23.
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        envelopes and their electronic equivalents” for military and overseas

        voters).

              Second, Judge Griffin challenged 266 votes cast by military and

        overseas-citizen voters who have not lived in the United States but who

        the North Carolina legislature authorized to vote in state elections due

        to the voters’ familial connection to the State. D.E. 1-4 at 12. At the

        time of the election, state law provided that these voters were eligible to

        cast a ballot in state elections. See N.C. Gen. Stat. § 163-258.2(1)(e).

        The state legislature unanimously passed this law in 2011. Uniform

        Military and Overseas Voters Act, N.C. Sess. Law 2011-182,

        bit.ly/4czpr5j. The law had been applied in more than forty prior

        elections. D.E. 1-4 at 40.2

              The Board dismissed Judge Griffin’s protests, concluding both

        that he had failed to comply with procedural filing requirements and

        that he had failed to establish probable cause of an election-law




        2     Judge Griffin also challenged roughly 60,000 voters who had
        allegedly incomplete voter registrations. The state supreme court
        rejected Judge Griffin’s challenge to these voters on state-law grounds.
        Griffin v. N.C. State Bd. of Elections, No. 320P24-3, --- S.E.2d ---, 2025
        WL 1090903, at *1-*2 (N.C. Apr. 11, 2025). This category of protests is
        therefore not at issue here.
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        violation. D.E. 1-4 at 10-52. Judge Griffin then filed petitions for

        judicial review in North Carolina state trial court for each category of

        protests. D.E. 1-4; D.E. 1-12. The Board removed the petitions to

        federal district court. D.E. 1. The district court below held that the

        Board properly removed under 28 U.S.C. § 1443(2). D.E. 24. The court

        nonetheless abstained under Burford v. Sun Oil Co., 319 U.S. 315

        (1943), and remanded this matter back to state trial court. D.E. 24.

              The Board appealed. D.E. 26. This Court affirmed the district

        court’s holding that the Board correctly removed to federal court.

        Griffin v. N.C. State Bd. of Elections, No. 25-1018(L), slip op. at 9 (4th

        Cir. Feb. 4, 2025) (per curiam). This Court also modified the district

        court’s abstention-based remand order. Specifically, this Court

        “direct[ed] the district court to modify its order to expressly retain

        jurisdiction of the federal issues identified in the Board’s notice of

        removal should those issues remain after the resolution of the state

        court proceedings, including any appeals.” Id. at 11 (citing England v.

        La. State Bd. of Med. Exam’rs, 375 U.S. 411 (1964)). Implementing this

        Court’s mandate, the district court modified its original order to abstain

        under Railroad Commission of Texas v. Pullman Co., 312 U.S. 496


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        (1941), and to expressly retain jurisdiction over the federal issues. D.E.

        35.

              B.   On remand, the state courts order the Board to
                   implement a “cure process” and cancel certain ballots.

              As the parties litigated the appeal from the district court’s remand

        order, this case continued to proceed in state court.

              On February 3, 2025, the Board submitted briefs in state trial

        court that raised arguments under both federal and state law for

        affirming the Board’s decision to dismiss Judge Griffin’s protests. No.

        COA25-181, Griffin v. N.C. State Bd. of Elections, Documentary

        Exhibits to Record on Appeal, Vol. II, at 63-76, 175-223, 334-50 (N.C.

        Ct. App.), bit.ly/4jzXqNl. The next day, this Court issued its decision

        modifying the district court’s remand order to abstain under Pullman

        rather than under Burford. The Board then promptly filed an England

        reservation in state trial court. No. COA25-181, Griffin v. N.C. State

        Bd. of Elections, Record on Appeal at 128-33 (N.C. Ct. App.),

        bit.ly/41FOn7H. This reservation informed the state trial court of the




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        Board’s federal-law arguments but otherwise expressly reserved the

        Board’s right to litigate the federal-law issues in a federal forum. Id.3

              After the state trial court denied Judge Griffin’s petitions for

        judicial review, the North Carolina Court of Appeals reversed over a

        dissent. Griffin v. N.C. State Bd. of Elections, No. COA25-181, 2025 WL

        1021724 (N.C. Ct. App. Apr. 4, 2025). The court of appeals first

        reversed the Board’s determination that Judge Griffin had failed to

        properly serve his protests on challenged voters under state law. It

        held that the Board lacked authority to enforce a Board rule requiring

        such service. Id. at *5-*6.

              The court then held that, under state law, the two categories of

        voters at issue here voted unlawfully in the November 2024 general

        election. Id. at *11-*13. For military and overseas voters who did not

        include a copy of their photo ID or an exception affidavit with their

        absentee ballot, the court instructed the Board to: (1) identify and then

        notify those voters of their failure to meet the photo ID requirement, (2)


        3    The Board reiterated its England reservation in its filings in the
        North Carolina Court of Appeals and the North Carolina Supreme
        Court. No. COA25-181, Response Br. at 81-83 (N.C. Ct. App. Feb. 27,
        2025), bit.ly/3G9ovZx; No. 320P24-3, Pet. for Disc. Review at 3 n.2 (N.C.
        Apr. 6, 2025), bit.ly/43ZrBJk.
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        provide those voters fifteen business days from the date of the notice

        being sent to cure the defects, and (3) discard votes cast by those voters

        who fail to cure the alleged defects, but only for this contest and not any

        other race in the 2024 election. Id. at *14-*15. The court also

        instructed the Board to identify voters with inherited residency and

        remove their votes from the final vote total, again only in this contest.

        Id. at *15.

              The Board petitioned the North Carolina Supreme Court for

        discretionary review of this decision. On April 11, the state supreme

        court issued an order that modified the decision in part and declined

        review in part. Griffin v. N.C. State Bd. of Elections, No. 320P24-3, ---

        S.E.2d ---, 2025 WL 1090903 (N.C. Apr. 11, 2025). The court modified

        the court of appeals decision by finding that military and overseas

        voters who failed to meet the photo ID requirement should have thirty

        calendar days to submit a copy of their photo ID or an exception

        affidavit. Id. at *3. The court also denied review of the court of appeals

        decisions holding that the protestor was not required to notify

        challenged voters and that the voters with inherited residency were




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        ineligible to vote in state elections and should have their votes

        cancelled. Id.

              The state supreme court remanded to the state court of appeals

        “for further remand and actions not inconsistent with [the supreme

        court’s] order.” Id. On April 16, the court of appeals entered an order

        remanding the case to the state trial court, “for immediate further

        remand” to the Board. No. COA25-181, Certification of Judgment at 2

        (Apr. 16, 2025). A concurring judge noted that the state-court orders

        “leave open the question of exactly to which voters [Judge Griffin’s]

        challenges apply.” Id. at 3 (Hampson, J., concurring in the result).

              C.   The Board complies with the state-court orders.

              Until directed otherwise by court order, the Board is working

        diligently to comply with the state-court decisions.

              The district court below ordered the Board to provide notice about

        the scope of its remedial efforts. Text Order of Apr. 12, 2025. In an

        April 15 response, the Board explained the steps that it intends to take

        to implement the state-court orders. D.E. 61. First, the Board

        explained how it will instruct county boards to identify the challenged

        voters at issue. D.E. 61 at 2-5. Second, the Board explained how the


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        challenged military and overseas voters who did not meet the photo ID

        requirement will receive notice about their need to submit a copy or an

        exception affidavit. D.E. 61 at 5-6. The Board has also “begun work

        with the vendor that maintains its online portal for processing military

        and overseas ballots to create a means by which voters may securely

        submit copies of photo IDs and exception forms online.” D.E. 61 at 6.

        The Board estimated that this portal should “be ready within a week of

        entering into a contract.” D.E. 61 at 6. Third, the Board explained how

        it will identify the ballots with votes that may be discounted. D.E. 61 at

        6-7.

               Judge Griffin disputes how the Board intends to implement the

        remedial process that the state courts have ordered. He has petitioned

        the North Carolina Court of Appeals for a writ of mandamus or,

        alternatively, moved that the court clarify the scope of its prior decision.

        No. COA25-181, Pet. for Writ of Mandamus and Alternative Motion to

        Clarify (N.C. Ct. App. Apr. 16, 2025), bit.ly/44t9hIG. He argues that his

        challenge to military and overseas voters who failed to meet the photo

        ID requirement encompasses voters in six of the State’s 100 counties

        rather than one. Id. at 7-11. He argues that all military and overseas-


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        citizen voters who have not lived in the United States should be

        excluded from the vote count, not just the 266 voters who he identified

        in his election protests, including voters in counties in which he has

        never filed an election protest. Id. at 11-14. And he argues that the

        Board should not take further steps to identify these so-called “never

        resident” voters, despite recent public reporting that suggests that some

        have in fact previously resided in the State—reporting that has been

        initially verified by the Board’s own internal review of voter records. Id.

        at 15-19.4

              The Board believes that it is faithfully following the state-court

        orders in this case. The Board intends to file a response to the petition

        and motion by April 25, the deadline set by the North Carolina Court of

        Appeals. No. COA25-181, Order (N.C. Ct. App. Apr. 17, 2025),

        bit.ly/4jA7eXw.




        4     See, e.g., Bryan Anderson, Longtime N.C. Voters May Have Their
        Ballots Wrongfully Tossed in Supreme Court Race, The Assembly (Apr.
        13, 2025), bit.ly/4iqZAhk; Judd Legum et al., North Carolina Supreme
        Court Throws Out Hundreds of Ballots Based on Flawed Data, Popular
        Information (Apr. 15, 2025), bit.ly/3GaAKVt.
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              D.   The case returns to federal court, and the district
                   court declines to stop the Board’s implementation of
                   the state-court orders.

              After the state supreme court decision, Justice Riggs returned to

        federal district court and moved for a preliminary injunction under

        Civil Rule 65 and an injunction under the All Writs Act, 28 U.S.C.

        § 1651. D.E. 37 at 1. Specifically, Justice Riggs sought an order

        “prohibiting the parties from taking any action to enforce or effectuate

        the North Carolina Court of Appeals’ opinion,” “as modified by the

        North Carolina Supreme Court,” while the district court “considers the

        federal issues remaining after resolution of the state court proceedings.”

        D.E. 37 at 1.

              The district court granted the injunction only in part. The court

        prohibited the Board from “certify[ing] the results of the election,

        pending further order of [the] court.” Text Order of Apr. 12, 2025. But

        the court otherwise ordered the Board “to proceed in accordance with

        the North Carolina Court of Appeals opinion, . . . as modified by the

        North Carolina Supreme Court.” Text Order of Apr. 12, 2025. The

        court also entered a briefing schedule on the remaining federal-law




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        issues, with briefing set to conclude on April 28. Text Order of Apr. 12,

        2025.

                Justice Riggs appealed the denial of her motion to preliminarily

        enjoin the Board from implementing the state-court orders. D.E. 44.

        She also moved for a stay and an injunction pending appeal. D.E. 47.

        The district court denied the motions. As for the stay, the court held

        that a stay was “improper” because its order “did nothing more than

        decline to interfere (on an expedited basis and without the benefit of

        briefing) with the initiation of a remedial process ordered by the North

        Carolina Court of Appeals and North Carolina Supreme Court.” D.E.

        60 at 2. As for the injunction pending appeal, the court held that

        implementing the state-court orders while the appeal was pending

        would not, “on its own, constitute[ ] a form of irreparable harm” in light

        of the court’s order “expressly prohibit[ing] the Board of Elections from

        certifying the results of the election” until the federal-law issues have

        been resolved. D.E. 60 at 3.

                Justice Riggs now moves this Court for a stay and an injunction

        pending appeal. See Fed. R. App. P. 8.




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              Three other similar motions are also before this Court. The first is

        from voter-intervenors, who also appealed the district court’s denial of

        preliminary injunctive relief. D.E. 45. This Court has consolidated that

        appeal with Justice Riggs’s. Nos. 25-1397(L), 25-1398.

              The remaining motions arise from separate cases brought against

        the Board in federal court. First, the North Carolina Democratic Party

        sued the Board under 42 U.S.C. § 1983, seeking an order prohibiting

        the Board from canceling the votes that Judge Griffin challenged. N.C.

        Democratic Party v. N.C. State Bd. of Elections, No. 24-cv-699, D.E. 35

        (E.D.N.C.). Second, a putative class of military and overseas voters who

        did not present photo ID and whose votes Judge Griffin challenged sued

        the Board’s Members and its Executive Director under 42 U.S.C.

        § 1983, seeking similar relief. Conley v. Hirsch, No. 25-cv-193, D.E. 1

        (E.D.N.C.). The district court held that these cases “[i]nvolve . . .

        common question[s] of law or fact” with the Griffin litigation and

        consolidated them with this case. Text Order of Apr. 14, 2025; see Fed.

        R. Civ. P. 42(a). Both the Democratic Party and the Conley plaintiffs

        appealed from the district court’s order that the Board proceed with




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        implementing the state-court decisions. D.E. 49, 51. This Court has

        separately docketed those appeals as Nos. 25-1399 and 25-1401.

              All four motions raise the same underlying question: whether this

        Court should enter an order prohibiting the Board from implementing

        the challenged remedial process while the appeals are pending. Given

        this overlap, the Board respectfully submits the same response across

        all the pending cases.

                           JURISDICTIONAL STATEMENT

              In Nos. 25-1397(L) and 25-1398, the district court had jurisdiction

        under 28 U.S.C. § 1443(2). Griffin, No. 25-1018(L), slip op. at 9. In

        Nos. 25-1399 and 25-1401, the district court had jurisdiction over the

        section 1983 actions under 28 U.S.C. § 1331.

              This Court has appellate jurisdiction in all four cases under 28

        U.S.C. § 1292(a)(1). That provision authorizes a court of appeals to

        exercise jurisdiction over “[i]nterlocutory orders . . . granting,

        continuing, modifying, refusing or dissolving injunctions, or refusing to

        dissolve or modify injunctions.” 28 U.S.C. § 1292(a)(1).

              Here, the district court below denied motions for a preliminary

        injunction prohibiting the Board from implementing the remedial


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        process ordered by the state courts. Specifically, although the district

        court prohibited the Board from “certify[ing] the results of the election,”

        the court nonetheless declined to enjoin the Board from “proceed[ing] in

        accordance with” the state-court orders. Text Order of Apr. 12, 2025.

        Thus, until directed to do otherwise by court order, the Board has begun

        the process of preparing to identify the challenged voters, notifying

        certain challenged voters of an opportunity to cure, and identifying the

        ballots with votes that may be discounted. D.E. 61. The district court’s

        order therefore has the “practical effect” of denying an injunction that

        would prohibit the Board from taking these steps. Abbott v. Perez, 585

        U.S. 579, 594 (2018) (citations omitted). The order is immediately

        appealable as a result. See id.

                                      ARGUMENT

              The Board agrees that an injunction pending appeal is warranted.

              In deciding whether to grant an injunction pending appeal, this

        Court considers the likelihood of success on the merits, the irreparable

        harm that could result absent an injunction, the balance of equities, and

        the public interest. Wise v. Circosta, 978 F.3d 93, 102-03 (4th Cir. 2020)

        (en banc). This standard is particularly “demanding” when a party


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        seeks an appellate injunction, but the movants have satisfied the

        standard here. Grimmett v. Freeman, No. 22-1844, 2022 WL 3696689,

        at *1 (4th Cir. Aug. 25, 2022) (per curiam); see Nken v. Holder, 556 U.S.

        418, 429 (2009).

              First, the Board’s implementation of the state-court orders would

        violate the federal constitution. It is “settled” law that the Fourteenth

        Amendment’s Due Process Clause prohibits a state election from

        “reach[ing] the point of ‘patent and fundamental unfairness.’” Hendon

        v. N.C. State Bd. of Elections, 710 F.2d 177, 182 (4th Cir. 1983) (quoting

        Griffin v. Burns, 570 F.2d 1065, 1077 (1st Cir. 1978)). Specifically,

        voters who do “no more than follow[ ] the instructions of the officials

        charged with running the election” cannot, consistent with due process,

        be retroactively disenfranchised because a court later concludes that

        those instructions were incorrect. Burns, 570 F.2d at 1075.

              Here, the state-court orders require the Board to carry out a

        process that is fundamentally unfair. It is undisputed that the

        challenged voters did everything they were asked to cast a ballot in the

        November 2024 general election. A Board rule in place at the time, and

        enforced without controversy in multiple prior elections, told military


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        and overseas voters that they did not need to submit a copy of their

        photo ID or an exception affidavit with their ballot. 08 N.C. Admin.

        Code § 17.0109(d). Indeed, a majority of these voters used an online

        platform to cast their ballots that did not provide them with the means

        to submit a copy of their photo ID or exception form. D.E. 61 at 3 n.3.

        Similarly, a state statute in place at the time of the election, and

        enforced without controversy for more than a decade, told inherited-

        residency voters that they were eligible to participate in state elections.

        N.C. Gen. Stat. § 163-258.2(1)(e).

              To commence a process that will lead to retroactively cancelling

        votes cast in compliance with longstanding election rules in place at the

        time of the election—more than five months after the election has

        ended—violates due process under longstanding precedent. As this

        Court has explained, to avoid a due-process violation, “the general rule

        [is to] den[y] relief with respect to past elections,” while “afford[ing]

        prospective relief” instead. Hendon, 710 F.2d at 182. A contrary rule

        “would permit, if not encourage, parties who could raise a claim to lay

        by and gamble upon receiving a favorable decision of the electorate and

        then, upon losing, seek to undo the ballot results in a court action.” Id.


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        (quotation marks and citation omitted). That is exactly what the state-

        court orders have permitted here. Whatever the precise scope of Judge

        Griffin’s protests, see supra pp 11-12, the Board cannot carry out the

        remedial process without violating the federal constitution’s due-process

        guarantees.

              The state-court orders also deny voters their right to procedural

        due process. The state court of appeals held that the Board lacks

        statutory authority to require election protesters like Judge Griffin to

        notify voters that their votes are being challenged. That holding offends

        due process because voters have a “constitutionally protected liberty

        interest” in their right to vote. Democracy N.C., 476 F. Supp. 3d at 227.

        As a result, when a voter’s “ballot [is] challenged,” due process requires

        that voters be “given notice,” so they can protect their vote. Id. at 228.5


        5     Judge Griffin also reads the decision of the state court of appeals
        to exacerbate the procedural due process problem here. If the remedial
        process is not enjoined, the Board intends to provide notice to those
        voters that Judge Griffin has challenged as “never residents” and to
        allow them an opportunity to show that they are or have been residents
        of North Carolina. D.E. 61 at 3-5. Judge Griffin, however, has asked
        that court to construe its mandate to require the Board to cancel the
        votes of all these voters, without any notice or process. Pet. for Writ of
        Mandamus at 15-19, bit.ly/44t9hIG. The Board disagrees with that
        reading of the state-court mandate, but if Judge Griffin were correct, it
        would clearly deny those voters procedural due process.
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              It is also well established that, under the Fourteenth

        Amendment’s Equal Protection Clause, “[h]aving once granted the right

        to vote on equal terms, the State may not, by later arbitrary and

        disparate treatment, value one person’s vote over that of another.”

        Bush v. Gore, 531 U.S. 98, 104-05 (2000) (per curiam); see Wise, 978

        F.3d at 100 & n.7 (stating that Bush “is of limited precedential value”

        given its fact-specific analysis but acknowledging that it “prohibits

        arbitrary and disparate treatment in the valuation of one person’s vote

        in relation to another’s”). By ordering the Board to implement a cure

        process that could result in the cancellation of ballots cast by military

        and overseas voters in at most six of the State’s 100 counties, the state-

        court orders require the Board to treat identically situated voters

        differently for the arbitrary reason that they live in one county rather

        than another. But the law is clear that a State cannot, in carrying out

        an election, “accord[ ] arbitrary and disparate treatment to voters in its

        different counties.” Bush, 531 U.S. at 107; accord Reynolds v. Sims, 377

        U.S. 533, 563 (1964) (“Weighting the votes of citizens differently, by any

        method or means, merely because of where they happen to reside,

        hardly seems justifiable.”).


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              The Board’s implementation of the state-court orders would also

        violate multiple federal civil-rights laws. For example, the National

        Voter Registration Act prohibits officials from “systematically

        remov[ing]” ineligible voters from the rolls within 90 days of an election,

        except in narrow, enumerated circumstances. 52 U.S.C.

        § 20507(c)(2)(A)-(B); see N.C. Gen. Stat. § 163-82.14(a1) (extending this

        requirement to state elections). To enforce Congress’s prophylactic

        prohibition against voter purges for the 90-day period before an

        election, courts cannot require a State to retroactively implement mass

        voter purges after an election has occurred—as the remedial process

        would have the Board do with respect to inherited-residency voters.

              Implementing the state-court orders would also violate the Voting

        Rights Act, which prohibits officials from “willfully fail[ing] or refus[ing]

        to tabulate, count, and report” the votes of individuals who were

        “qualified to vote” in the election. 52 U.S.C. § 10307(a). It is

        undisputed that the military and overseas voters who failed to present

        photo ID were qualified voters. The Voting Rights Act therefore




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        mandates that their votes be counted.6

              Second, irreparable harm will result absent an injunction.

        “Running elections state-wide is extraordinarily complicated and

        difficult.” Merrill v. Milligan, 142 S. Ct. 879, 880 (2022) (Kavanaugh,

        J., concurring). “Those elections require enormous advance

        preparations by state and local officials, and pose significant logistical

        challenges.” Id. The state-court orders here—requiring the Board to

        take further steps in administering an election that ended more than

        five months ago—pose significant logistical challenges of this kind. To

        comply with the state-court orders, the Board and the county boards

        will be required to spend time, money, and resources to implement a

        process for identifying and notifying challenged voters, as well as

        identifying ballots with votes that may be discounted. D.E. 61. If the

        district court or this Court later concludes that implementing the state-

        court orders would violate federal law, these efforts would be for




        6     In addition, Judge Griffin reads the state court of appeals’ decision
        to require the Board to disregard evidence that some voters that he
        challenged as “never residents” actually are or have been state
        residents and are therefore qualified to vote. If Judge Griffin were
        correct in this reading, it would require the Board to cancel votes of
        qualified North Carolina voters in violation of the Voting Rights Act.
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        naught. Any costs incurred during this process, moreover, cannot be

        recovered at the end of this litigation and are therefore irreparable

        harms. Mountain Valley Pipeline, LLC v. 6.56 Acres of Land, 915 F.3d

        197, 218 (4th Cir. 2019). The district court was therefore incorrect that

        its order prohibiting the Board from certifying the election results was

        sufficient to avoid irreparable harm here. D.E. 60 at 3.

              Irreparable harm will also flow absent an injunction in the form of

        voter confusion. “Late judicial tinkering with election laws can lead to

        disruption and to unanticipated and unfair consequences for

        candidates, political parties, and voters, among others.” Merrill, 142 S.

        Ct. at 881 (Kavanaugh, J., concurring). That risk is especially acute

        here. This case is now before three different courts: this Court, on

        motions for an injunction and plenary appeals from the denial of

        preliminary injunctive relief below; the district court, where the parties

        are briefing the remaining federal issues; and the state court of appeals,

        where the parties are clarifying the scope of the remedial process.

        Prohibiting the implementation of the remedial process until the courts

        have resolved these disputes will guard against “voter confusion.”

        Purcell v. Gonzalez, 549 U.S. 1, 4-5 (2006) (per curiam).


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              After all, implementing the remedial process will require sending

        notice to affected voters that their votes could be canceled. Voters who

        receive that notice would be understandably confused by having to take

        steps to protect their vote before courts have decided whether those

        steps are actually necessary. The notices would, moreover, threaten

        voters with retroactive disenfranchisement—and a threat to carry out

        an unconstitutional order imposes irreparable harm. See Elrod v.

        Burns, 427 U.S. 347, 373 (1976) (finding irreparable harm when

        constitutional rights were “threatened or in fact being impaired at the

        time relief was sought”).

              Third, the balance of equities weighs in favor of granting relief.

        While entering an injunction will delay the remedial process, “that

        consequence is attributable at least in part to [Judge Griffin], [who]

        delayed unnecessarily” in bringing his challenges to longstanding

        election rules until after the election. See Little v. Reclaim Idaho, 140

        S. Ct. 2616, 2617 (2020) (Roberts, C.J., concurring) (quotation marks

        omitted). And the parties agree that the Board should be allowed to

        continue preparatory steps that will enable it to promptly begin the

        remedial process should it be appropriate, minimizing any delay.


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              Fourth, an injunction is in the public interest. Implementing a

        state election process “of questionable legality . . . cast[s] a cloud upon”

        “the legitimacy of [the] election.” Bush v. Gore, 531 U.S. 1046, 1047

        (2000) (Scalia, J., concurring). “Count first, and rule upon legality

        afterwards, is not a recipe for producing election results that have the

        public acceptance democratic stability requires.” Id.

                                             ***

              As this Court has recently observed, “the constant pull to the

        courtroom leaves state election officials frequently operating in a

        provisional state, never knowing if and when their procedures will be

        overturned.” Sharma v. Hirsch, 121 F.4th 1033, 1043 (4th Cir. 2024).

        “This state of affairs is not conducive to the most efficient

        administration of elections.” Id.

              It is difficult to imagine a case that more squarely implicates that

        concern. By pausing the implementation of the remedial process, this

        Court can ensure the orderly resolution of any remaining federal issues

        and the remedy’s scope—before the Board and the county boards invest

        resources to fully carry out the process, and before voters take steps to

        comply with a process that violates federal law.


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                                    CONCLUSION

              For these reasons, the Board agrees that this Court should issue

        an injunction pending appeal.

              Respectfully submitted, this the 21st day of April 2025.


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                           CERTIFICATE OF COMPLIANCE

              I certify that this response complies with the type-volume

        limitations of Fed. R. App. P. 27(d)(2)(A) because it contains 5,175

        words. This response complies with the typeface and type-style

        requirements of Fed. R. App. P. 32(a)(5) & (6) because it has been

        prepared in a proportionally spaced typeface: 14-point Century

        Schoolbook font.

              Respectfully submitted, this the 21st day of April 2025.



                                                 /s/ Nicholas S. Brod
                                                 Nicholas S. Brod
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                             CERTIFICATE OF SERVICE

              I certify that on April 21, 2025, I filed the foregoing with the Clerk

        of the Court for the United States Court of Appeals for the Fourth

        Circuit by using the appellate CM/ECF system. Participants in the case

        are registered CM/ECF users and service will be accomplished by the

        appellate CM/ECF system.

              Respectfully submitted, this the 21st day of April 2025.



                                                  /s/ Nicholas S. Brod
                                                  Nicholas S. Brod
